          Case 1:13-vv-00711-UNJ Document 42 Filed 12/04/15 Page 1 of 7




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-711V
                                    Filed: November 13, 2015

* * * * * * * * * * * * * * * *                           UNPUBLISHED
JOHNNA BAILEY,                              *
                                            *             Special Master Hamilton-Fieldman
              Petitioner,                   *
                                            *             Joint Stipulation on Damages;
v.                                          *             Influenza (“Flu”) Vaccine;
                                            *             Bell’s Palsy.
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
* * * * * * * * * * * * * * * *
Kevin Mack, Law Offices of Kevin Mack, Tiffin, OH, for Petitioner.
Jennifer Reynaud, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION 1

        On September 23, 2013, Johnna Bailey (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered to her on February 23, 2011
caused her to develop Bell’s palsy and other autoimmune conditions.

       On November 13, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that Petitioner’s alleged Bell’s
palsy and residual effects were caused-in-fact by the flu vaccine. However, the parties agree to
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                  1
         Case 1:13-vv-00711-UNJ Document 42 Filed 12/04/15 Page 2 of 7



the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that Petitioner shall receive the following compensation:

    A. A lump sum of $5,500.00, in the form of a check payable to Petitioner. This amount
       represents compensation for all damages that would be available under 42 U.S.C. §
       300aa-15(a), except as set forth in paragraph B., below; and

    B. A lump sum of $93.66, which amount represents reimbursement of a lien for
       services rendered on behalf of Petitioner, in the form of a check payable jointly to
       Petitioner and:

                                     Ohio Recovery Unit
                                 350 Worthington Rd., Suite G
                                    Westerville, OH 43082
                                    Case Number: 1023366

       Petitioner agrees to endorse this payment to the appropriate State agency.

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
Case 1:13-vv-00711-UNJ Document 42
                                40 Filed 12/04/15
                                         11/13/15 Page 3
                                                       1 of 7
                                                            5
Case 1:13-vv-00711-UNJ Document 42
                                40 Filed 12/04/15
                                         11/13/15 Page 4
                                                       2 of 7
                                                            5
Case 1:13-vv-00711-UNJ Document 42
                                40 Filed 12/04/15
                                         11/13/15 Page 5
                                                       3 of 7
                                                            5
Case 1:13-vv-00711-UNJ Document 42
                                40 Filed 12/04/15
                                         11/13/15 Page 6
                                                       4 of 7
                                                            5
Case 1:13-vv-00711-UNJ Document 42
                                40 Filed 12/04/15
                                         11/13/15 Page 7
                                                       5 of 7
                                                            5
